     Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 1 of 12 PageID #:1310




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


EMOJI COMPANY GmbH,

        Plaintiff,
                                                         No. 22-cv-03721
v.
                                                         Judge John F. Kness
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

        Defendants.



                           PRELIMINARY INJUNCTION ORDER

        THIS CAUSE is before the Court on EMOJI COMPANY GmbH’s Motion for a

Preliminary Injunction. Having considered the evidence presented, the Court grants Plaintiff’s

Motion for Entry of a Preliminary Injunction against the Defendants identified in Schedule A

attached hereto (collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

the Defendants directly target their business activities toward consumers in the United States,

including Illinois. Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing infringing and/or counterfeit versions of Plaintiff’s EMOJI

Trademarks (the “EMOJI Products”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this
   Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 2 of 12 PageID #:1311




litigation and that issuing this Preliminary Injunction is warranted under Rule 65 of the Federal

Rules of Civil Procedure. Evidence submitted in support of this Motion and in support of Plaintiff’s

previously granted Motion for a Temporary Restraining Order establishes that Plaintiff has a

likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

       Specifically, Plaintiff has made a prima facie showing of trademark infringement because

(1) the EMOJI Trademarks are distinctive marks and registered with the U.S. Patent and

Trademark Office on the Principal Register as U.S. Trademark Registration Nos. 4,868,832;

5,202,078 and 5,415,510 for the EMOJI marks, (2) Defendants are not licensed or authorized to

use the EMOJI Trademarks, and (3) Defendants’ use of the EMOJI Trademarks are causing a

likelihood of confusion as to the origin or sponsorship of Defendants’ products with EMOJI

COMPANY GmbH. Further, Defendants’ continued and unauthorized use of the EMOJI

Trademarks irreparably harms Plaintiff through diminished goodwill and brand confidence,

damage to Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Monetary damages

fail to address such damage and, therefore, Plaintiff has an inadequate remedy at law. Moreover,

the public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions.

       Accordingly, this Court ORDERS that:

       1.      Defendants, their officers, agents, servants, employees, attorneys, and all persons

acting for, with, by, through, under or in active concert with them be enjoined and restrained from:

               a.      using Plaintiff’s EMOJI Trademarks or any confusingly similar

reproductions, counterfeit copies or colorable imitations thereof in any manner in connection with

the distribution, marketing, advertising, offering for sale, or sale of any product that is not a




                                                     2
   Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 3 of 12 PageID #:1312




genuine EMOJI Product or is not authorized by Plaintiff to be sold in connection with Plaintiff’s

EMOJI Trademarks;

               b.      passing off, inducing, or enabling others to sell or pass off any product as a

genuine EMOJI Product or other product produced by Plaintiff, that is not Plaintiff’s or is not

produced under the authorization, control or supervision of Plaintiff and approved by Plaintiff for

sale under Plaintiff’s EMOJI Trademarks;

               c.      committing any acts calculated to cause consumers to believe that

Defendants’ products are those sold under the authorization, control or supervision of Plaintiff, or

are sponsored by, approved by, or otherwise connected with Plaintiff;

               d.      further infringing Plaintiff’s EMOJI Trademarks and damaging Plaintiff’s

goodwill;

               e.      shipping, delivering, holding for sale, transferring or otherwise moving,

storing, distributing, returning, or otherwise disposing of, in any manner, products or inventory not

manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for sale, and which

bear Plaintiff’s EMOJI Trademarks or any confusingly similar reproductions, counterfeit copies or

colorable imitations thereof;

               f.      using, linking to, transferring, selling, exercising control over, or otherwise

owning the Online Marketplace Accounts, the Defendant Domain Names, or any other domain

name or online marketplace account that is being used to sell Counterfeit EMOJI Products; and

               g.      operating and/or hosting websites at the Defendant Domain Names and any

other domain names registered or operated by Defendants that are involved with the distribution,

marketing, advertising, offering for sale, or sale of any product bearing Plaintiff’s EMOJI

Trademarks or any confusingly similar reproductions, counterfeit copies, or colorable imitations




                                                  3
   Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 4 of 12 PageID #:1313




thereof that is not a genuine EMOJI Product or is not authorized by Plaintiff to be sold in

connection with Plaintiff’s EMOJI Trademarks.

       2.      Each Defendant, within fourteen (14) days after receiving notice of this Order, shall

serve upon Plaintiff a written report under oath providing: (a) their true name and physical address,

(b) all websites and online marketplace accounts on any platform that it owns and/or operates, (c)

their financial accounts, including all Context Logic, Inc. (“Wish”) accounts, and (d) the steps

taken by that Defendant to comply with paragraph 1, a through g, above.

       3.      The domain name registries for the Defendant Domain Names, including, but not

limited to, Wish, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the

Public Interest Registry, within three (3) business days of receipt of this Order or prior to expiration

of this Order, whichever date shall occur first, shall, at Plaintiff’s choosing:

               a.        unlock and change the registrar of record for the Defendant Domain Names

to a registrar of Plaintiff’s selection until further ordered by this Court, and the domain name

registrars shall take any steps necessary to transfer the Defendant Domain Names to a registrar of

Plaintiff’s selection until further ordered by this Court; or

               b.        disable the Defendant Domain Names and make them inactive and

untransferable until further ordered by this Court.

       4.      Those in privity with Defendants and with actual notice of this Order, including

any online marketplaces such as iOffer, Wish, social media platforms, Facebook, YouTube,

LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts for the

Defendant Domain Names, and domain name registrars, shall within three (3) business days of

receipt of this Order:




                                                   4
   Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 5 of 12 PageID #:1314




               a.      disable and cease providing services for any accounts through which

Defendants engage in the sale of counterfeit and infringing goods using the EMOJI Trademarks,

including any accounts associated with the Defendants listed in Schedule A;

               b.      disable and cease displaying any advertisements used by or associated with

Defendants in connection with the sale of counterfeit and infringing goods using the EMOJI

Trademarks; and

               c.      take all steps necessary to prevent links to the Defendant Domain Names

identified in Schedule A from displaying in search results. This includes, but is not limited to,

removing links to the Defendant Domain Names from any search index.

       5.      Defendants and any persons in active concert or participation with them who have

actual notice of this Order shall be restrained and enjoined from transferring or disposing of any

money or other of Defendants’ assets until further ordered by this Court.

       6.      Wish shall, within five (5) business days of receipt of this Order, for any Defendant

or any of Defendants’ Online Marketplace Accounts or websites:

               a.      Locate all accounts and funds connected to Defendants, Defendants’ Online

Marketplace Accounts or Defendants’ websites, including, but not limited to, any Wish accounts

connected to the information listed in Schedule A hereto; and

               b.      Restrain and enjoin any such accounts or funds from transferring or

disposing of any money or other of Defendants’ assets until further ordered by this Court.

       7.      Plaintiff may provide notice of these proceedings to Defendants, including notice

of any future hearings and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by electronically

publishing a link to the Complaint, this Order and other relevant documents on a website to which

the Defendant Domain Names are transferred to Plaintiff’s control will redirect, or by sending an




                                                 5
   Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 6 of 12 PageID #:1315




e-mail to the e-mail addresses identified in Schedule A hereto; and any e-mail addresses provided

for Defendants by third parties accompanied by a link to the website where the above-identified

documents are located. The combination of providing notice via electronic publication or e-mail,

along with any notice that Defendants receive from domain name registrars and payment

processors, shall constitute notice reasonably calculated under all circumstances to apprise

Defendants of the pendency of the action and afford them the opportunity to present their

objections.

       8.      Plaintiff’s Schedule A to the Complaint and the TRO is unsealed.

       9.      Any Defendants that are subject to this Order may appear and move to dissolve or

modify the Order on two days’ notice to Plaintiff or on shorter notice as set by this Court.

SO ORDERED in No. 22-cv-03721.

Date: October 19, 2022
                                                      JOHN F. KNESS
                                                      United States District Judge




                                                 6
Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 7 of 12 PageID #:1316




                               SCHEDULE A

               No.    Defendant Name / Alias
                1    Jonebeauty
                2    JUMALATAR
                3    JUSTSL SHOES STORE
                4    kadilakestore
                5    Krion
                6    KUOSHIAN4816
                7    ladyfort
                8    LAIBINGBI
                9    laigetongkuai
               10    laitiqingti
               11    lanxin~6578
               12    leicong
               13    Lenkoss
               14    LHP STORE
               15    liaishan
               16    lichaojin1563
               17    LiHong
               18    lihongfans
               19    lilysirxieguan
               20    Limiline123
               21    Linjou ling nine
               22    LIUQING66666
               23    LIUSUMINMIN87
               24    Lixuemei1
               25    lizhongbin
               26    lxlwolusoso912
               27    lxq744
               28    Maryke
               29    Meet yours love
               30    meikaishu
               31    MMTZDDDF woman bags shop
               32    jichao19980915
               33    jidingbox
               34    jim co.ltd
               35    jim lester
               36    jimailan store
               37    jimorefashion
               38    JINGMEISHOUBAN
               39    jinyu258520
               40    Jinzhi
               41    jinzhiflag
               42    Jipeishuma


                                     7
Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 8 of 12 PageID #:1317




               43   jiuchen
               44   jiulingersell
               45   jkm;kl
               46   Joy fashion international
               47   Joyce women’s dress
               48   Joy’s Stock
               49   joytokyo
               50   Jstorek
               51   Judcy
               52   JuliusuCsGuH
               53   junprince
               54   junzilan
               55   justing
               56   JWJDDP
               57   JXDS
               58   jxxyyouth0104
               59   KaiFeng2018
               60   kaikaide
               61   kaiseku
               62   kaizhong123
               63   Kakazuoxiangyou
               64   Kaletine Jewelry
               65   kangmao
               66   KAROQI Technology Co., Ltd.
               67   kelly1
               68   kelove
               69   kent5200
               70   keong
               71   KepMov
               72   Keqiong
               73   kevin’s variety shop
               74   K-FASHION SCHOOL & OFFICE SUPPLIES
               75   Kingking zhang
               76   KIO11
               77   kissbuyw
               78   KK Party
               79   kkff3e
               80   K-MIME School & Office Stationery
               81   knm3693
               82   kolalame
               83   kolo
               84   koxmdq
               85   KUCOS
               86   kule666
               87   kungfu store


                                     8
Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 9 of 12 PageID #:1318




                88   Kvivlax
                89   Kwerr
                90   Lady Stop Shop
                91   lamaran
                92   lancangwan12
                93   Landgo
                94   lanxiaokeqing
                95   lanyangleilzm
                96   LaremeShopOnline
                97   lawyerobjk
                98   Lay Taung
                99   LCY-94
               100   leeyyshop
               101   Leftear09
               102   leomall
               103   lesanlee
               104   lgyzjzhr
               105   Lhyulinlong
               106   LI lucky store
               107   li na xiao dian
               108   LI TANG-1
               109   liangbinx
               110   LiangXuanChen
               111   liangyujunha
               112   lianjianing001
               113   Liaoxing Fashion
               114   LiaoYong114056
               115   life&shopping 666
               116   lifeshopping588
               117   LifeTeste
               118   liguo1
               119   lihangkukudian001
               120   lihui1987
               121   lijiaojiaodain
               122   lijuny
               123   liliyao store
               124   limeixiaggj
               125   LIN Supermarket
               126   lin12543
               127   Ling’s clothing store
               128   Linhao World
               129   linlixing fashion
               130   Lin’s market
               131   linxiawangpu
               132   Lioing


                                         9
Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 10 of 12 PageID #:1319




               133   lisaii
               134   lisangdong
               135   little light
               136   Littlehouse569
               137   littlesalt
               138   Liu ter
               139   liuchunping
               140   Liudingqiong666
               141   liufen666
               142   liufengyingdfs
               143   liuhaiyun
               144   liuhaoyu546
               145   liuli258
               146   liulin111
               147   liusanyuan
               148   liusikiusi
               149   liuweidedin
               150   liuxialiuxialiuxialiuxia
               151   Liuxiang1946
               152   liuxingyuansu
               153   liuxinlan7758
               154   liuxuewen6553
               155   Liuyongjie Fashion
               156   liuyuan888
               157   LIVE FOR LOVE
               158   lixiang2064
               159   lixqiaoi
               160   liyajie1578
               161   liyi1
               162   LIYIHONG
               163   ljdgfvbshdrr
               164   ljl211700437
               165   LJP trade
               166   ljydjjjsw
               167   LOCA RHINESTONE
               168   Lollipopmoment
               169   Lonelybar
               170   Loney
               171   long best store
               172   longhuitong
               173   longyingping
               174   Lonrrytouw
               175   Lost-wheat-pocket
               176   love beijing
               177   love hq


                                        10
Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 11 of 12 PageID #:1320




               178   love more and more
               179   love my angel
               180   love to love me
               181   loveliweijing
               182   lovemeooo
               183   loveourmax
               184   LUCHANA
               185   luck of the blue birds
               186   luckly everyone
               187   luckstar
               188   Lucky Future House
               189   Lucky jewelry 123
               190   lucky24love
               191   luckyboygirl
               192   luckyczh
               193   LuckyHome0603
               194   lucyleilei
               195   luer
               196   Luky485
               197   luoguogen666
               198   Lush-FOR
               199   lutingg
               200   luyun12345678
               201   Lvxchuang
               202   LWH trade
               203   ly123321
               204   LYCTX
               205   LynnSimonshop
               206   maaijddp
               207   Madge
               208   mage niubi
               209   Magic Martin
               210   Magic-Resplendent
               211   mahongmei
               212   maiyefeng
               213   maiyifudeniuniu
               214   makiteasy
               215   Malakal
               216   maliandong
               217   Maner shop
               218   mantyzhoiu
               219   maochenxiao1996
               220   Martin tian
               221   Mary6566
               222   Maryswill


                                         11
Case: 1:22-cv-03721 Document #: 34 Filed: 10/19/22 Page 12 of 12 PageID #:1321




               223   Mate Rings
               224   Maxell-ly
               225   Mazyr
               226   mciwooaqpl
               227   meijunmj8708
               228   meilunmeihuan
               229   meishiliqn
               230   meixiemeipu
               231   Meizhene Shop
               232   Mermiss
               233   mff7tdhan003
               234   mggqw
               235   MIAOLUNYUMAO
               236   Miaomiao’s shop
               237   miaoyiwen4891
               238   Milkle Gift
               239   mimimamamidexiaopu
               240   MIN2 STORE
               241   Minaya
               242   Mine-shopping mall
               243   MINGYING1852
               244   minicloud
               245   Ministyle
               246   minjuanastore
               247   Miss Mr.L
               248   Missgrass
               249   mjm_2016
               250   mklyuh wholeshop




                                     12
